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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                         )
                                                  )
                Plaintiff,                        )
                                                  )       Case No. 18-cr-02321-KG
       vs.                                        )
                                                  )
MAX LAURENCE PERU,                                )
                                                  )
                Defendant.                        )



        UNITED STATES’ UNOPPOSED MOTION FOR PROTECTIVE ORDER

       Pursuant to Rule 16(d)(1) of the Federal Rules of Criminal Procedure, the United States

moves the Court for a protective order for an FBI 302 report detailing proofer meeting with a

confidential informant (“CI”) with the government in this case. That evidence includes the

name of the CI and information about his/her meetings with the Government.         Defendant does

not oppose this motion.

       Defendant faces charges for being a felon in possession of firearms and ammunition.

After the case was indicted, law enforcement continued to interview individuals to obtain

additional information about the case.    Law enforcement has debriefed an individual that is

currently incarcerated who has inculpatory information about Defendant.       Because individuals

who cooperate with law enforcement often face backlash in jail, the United States is requesting a

protective order for any report that details cooperation of the CI to ensure the safety of the CI.

Additionally, while Defendant should have access to these material, there is no valid reason,

Defendant or his defense team to disclose the recordings of the interviews or the contents of the

reports to anyone else.
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        Federal Rule of Criminal Procedure 16(d)(1) provides that a “court may, for good cause,

deny, restrict, or defer discovery or inspection, or grant other appropriate relief.”

FED.R.CRIM.P. 16(d)(1).      The Supreme Court has approved the use of protective orders,

directing that “the trial court can and should, where appropriate, place a defendant and his

counsel under enforceable orders against unwarranted disclosure of the materials which they may

be entitled to inspect.”   Alderman v. United States, 394 U.S. 165, 185 (1969).

        Here, the need for a protective order is compelling.    First, the information contained in

the reports will reveal to Defendant who the CI is.    Should the CI’s cooperation become known

to the public, he or she could face embarrassment and potential danger.      Thus, there is a

compelling interest in keeping the recordings and reports public dissemination.

        For these reasons, the United States respectfully requests the Court issue a Protective

Order with the following conditions:

        a.      Barring Defendant, counsel for Defendant and/or anyone properly assisting

        counsel for Defendant from using the disclosed material except regarding representation

        of Defendant for this case;

        b.      Barring Defendant, counsel for Defendant and/or anyone properly assisting

        counsel for Defendant from disseminating the disclosed material or its contents to anyone

        other than Defendant or his investigator(s) in connection with this case;

        c.      Barring counsel for Defendant and/or anyone properly assisting counsel for

        Defendant from giving any copy of the disclosed material directly to Defendant.

        Defendant may only review the disclosed material in the presence of his counsel;

        d.      Barring Defendant, counsel for Defendant and/or anyone properly assisting

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       counsel for Defendant from publically revealing the identity of the CI;

       e.      Requiring counsel for Defendant and/or anyone properly assisting counsel for

       Defendant to obtain permission from the Court before setting forth the disclosed material

       in any publicly filed motion or publicly filed pleading.



                                                     Respectfully submitted,

                                                     JOHN C. ANDERSON
                                                     United States Attorney

                                                     Electronically filed 1/8/19
                                                     MARISA A. ONG
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I HEREBY CERTIFY that I filed the foregoing
pleading electronically through the CM/ECF system
which caused the following parties or counsel to be
served by electronic means, as reflected on the Notice
of Electronic Filing, and other methods of service as
indicated therein on January 8, 2019:


 /s/
MARISA A. ONG
Assistant U.S. Attorney




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